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JS-6

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

ANN JANETTE CORTEZ, individually Case No. CV18-03248 CAS (JPRx)
and as Successor in Interest of SANTINO Hon Judge: Christina A. Snyder; Crtm 8D

CESAR TREINO, Hon Magistrate Judge: Jean P. Rosenbluth
Plaintiffs, ORDER RE DISMISSAL OF
VS. ENTIRE ACTION

CITY OF LOS ANGELES, et al.

Defendants.

 

Based on the stipulation of the parties, and GOOD CAUSE appearing therefore, IT
IS HEREBY ORDERED that the above-entitled action is hereby dismissed in its entirety,
with prejudice. Each party to bear their own attorneys’ fees and costs.

IT IS SO ORDERED.

DATED: October 8, 2021

~ “HONORABLE CHRYTINAS SYNDER
Un“‘e* “tates District Court Ju*ge

 
